     Case 3:20-cv-01534-CSH Document 50 Filed 02/03/21 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )                Civil Action No: 3:20-cv-01534-CSH
                                    )
YALE UNIVERSITY,                    )
                                    )
                  Defendant.        )
___________________________________ )


                      NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41, Plaintiff United States notices dismissal of this

action. Rule 41(a)(1)(A)(i) provides that a plaintiff may voluntarily dismiss an action

without a court order by filing “a notice of dismissal before the opposing party serves

either an answer or a motion for summary judgment.” Defendant Yale has not served an

answer or motion for summary judgment in this action. The United States accordingly

notices voluntary dismissal of this action, without prejudice. See Fed. R. Civ. P.

41(a)(1)(B).




                                             1
     Case 3:20-cv-01534-CSH Document 50 Filed 02/03/21 Page 2 of 3




                                        Respectfully submitted,


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United States Attorney                  Deputy Assistant Attorney General
District of Connecticut                 Civil Rights Division


                                        /s/ Jeffrey Morrison
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                                        United States of America



Dated: February 3, 2021




                                    2
     Case 3:20-cv-01534-CSH Document 50 Filed 02/03/21 Page 3 of 3




                             CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2021, I electronically filed the foregoing
Notice with the Clerk of Court using the ECF system, which will send notification of
such filing to all counsel of record.

                                               /s/ Jeffrey Morrison
                                              JEFFREY G. MORRISON (PHV10881)
                                              Attorney for the United States




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